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                                    Exhibit 20
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                                                  #:1463                   Statement of Accounts
                                                                                                                                                Page 1 of 4
                                                                                                                                                This Statement: June 29, 2018
                                                                                                                                                Last Statement: May 31, 2018

                                                                                                                                                Account             4613



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0051560                                  4181-06-0000-CBT-PG0023-00000


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




                  California Bank & Trust, as part of Zions Bancorporation, was the proud winner of 16 Greenwich Excellence
                  Awards for 2017 for Cash Management, Middle Market and Small Business banking. In fact, we've been
                  recognized with Middle Market and Cash Management Overall Satisfaction awards every year since 2009] As
                  always, we thank you for your support.


             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  4613                                           $683.75



             ATTORNEY CLIENT TRUST 5794184613                                                                                                                                                220     0



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             15,444.19                                               1,325,003.13                         1,339,763.57                                0.00                                 683.75

            ...........................................................................................................................................................................................
            4 DEPOSITS/CREDITS
            Date                      Amount                 Description
            06/07                   25,000.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000003772 2307502066
            06/18                1,200,000.00                WIRE/IN-2018061800005673;ORG MICHAEL AVENATTI ESQ;REF 000000 1304301615
            06/27                  100,000.00                WIRE/IN-2018062700003741;ORG MICHAEL AVENATTI ESQ;REF 000000 1304600908
            06/29                        3.13                INTEREST PAYMENT 0002318858

            ...........................................................................................................................................................................................
            24 CHARGES/DEBITS
            Date                     Amount                  Description
            05/31                        .57                 INTEREST TRANSFER 0100072101
            06/04                   1,500.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000002571 2307904749
            06/04                   2,000.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000005546 2307908449
            06/08                   1,900.00                 WIRE/OUT-2018060700008453;BNF GEOFFREY JOHNSON 1304800048
            06/11                   5,000.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000006387 2308003853
            06/11                  30,000.00                 ONLINE XFER TO DDA AVENATTI & A ID: 000009998 2308006039
            06/18                   1,800.00                 WIRE/OUT-2018061800005745;BNF Geoffrey Johnson 1304301631
            06/18                  22,875.00                 WIRE/OUT-2018061800005748;BNF Protech Security 1304301635
            06/18               1,000,000.00                 WIRE/OUT-2018061800005747;BNF The X-Law Group P.C. 1304301633
            06/18                  16,000.00                 WIRE/OUT-2018061800005930;BNF Alexis Gardner 1304301667
            06/18                  35,000.00                 ONLINE XFER TO DDA AVENATTI & A ID: 000000249 2309106037
            06/18                  15,000.00                 ONLINE XFER TO DDA PASSPORT 420 ID: 000008937 2309106041
            06/18                   9,000.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000007584 2309107533
            06/20                  57,000.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000005761 2308100627
            06/21                   9,000.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000009949 2307500625
            06/22                   2,700.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000009436 2308400939
            06/22                  15,000.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000001564 2308405067
            06/25                  10,600.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000006642 2309406351
            06/26                   5,600.00                 ONLINE XFER TO DDA EAGAN AVENAT ID: 000005646 2307901151


A division of ZB, N.A. Member FDIC                                                                                                                                    0051560-0000001-0138293
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                                                 #:1465          June 29, 2018
                                                                                                                              STATE BAR OF CALIFORNIA
                                                                                                                                   4613




           Continued ...
           Date                        Amount               Description
           06/26                        460.00              MOBILE XFER TO DDA EAGAN AVENAT ID: 000001554 2307904277
           06/27                     28,000.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000004782 2307401725
           06/28                     25,828.00              WIRE/OUT-2018062800003557;BNF PROTECH SECURITY 1305200846
           06/28                      5,500.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000003849 2308002579
           06/29                     40,000.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000000072 2308505295

           ...........................................................................................................................................................................................
           0 CHECKS PROCESSED
           There were no transactions this period.
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                             Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                              $0.00                                    $0.00
           Total Returned Item Fees                                          $0.00                                    $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           05/31                   15,443.62                                          06/18                 100,368.62                                           06/26                          8.62
           06/04                   11,943.62                                          06/20                   43,368.62                                          06/27                   72,008.62
           06/07                   36,943.62                                          06/21                   34,368.62                                          06/28                   40,680.62
           06/08                   35,043.62                                          06/22                   16,668.62                                          06/29                       683.75
           06/11                        43.62                                         06/25                    6,068.62


           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                          $3.13                                Number Of Days This Interest Period                                  29
           Interest Paid Year-To-Date 2018                                             $14.47                                 Annual Percentage Yield Earned                                  0.17%




A division of ZB, N.A. Member FDIC                                                                                                                                   0051560-0000002-0138294
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California Bank & Trust                #:1466




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                                                                              0051560-0000002-0138294
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                                    Exhibit 21
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                                                  #:1468                   Statement of Accounts
                                                                                                                                                Page 1 of 5
                                                                                                                                                This Statement: July 31, 2018
                                                                                                                                                Last Statement: June 29, 2018

                                                                                                                                                Account             4613



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0043332                                  4213-06-1000-CBT-PG0023-00001


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




                  California Bank & Trust, as part of Zions Bancorporation, was the proud winner of 16 Greenwich Excellence
                  Awards for 2017 for Cash Management, Middle Market and Small Business banking. In fact, we've been
                  recognized with Middle Market and Cash Management Overall Satisfaction awards every year since 2009] As
                  always, we thank you for your support.

                  There are great ways to shift your business into overdrive this summer. Get into growth mode with special
                  Merchant Services discount offers* from First Data Merchant Services LLC on equipment and fees. There's also
                  our business credit card offer with even more great rewards. Ask for details today.*Terms and conditions apply.


             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  4613                                           $333.19



             ATTORNEY CLIENT TRUST 5794184613                                                                                                                                                220     1



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             683.75                                                   280,552.57                           280,903.13                                 0.00                                 333.19

            ...........................................................................................................................................................................................
            7 DEPOSITS/CREDITS
            Date                      Amount                 Description
            07/03                  100,000.00                WIRE/IN-2018070300003349;ORG MICHAEL AVENATTI ESQ;REF 000000                                  1305000932
            07/11                   30,000.00                WIRE/IN-2018071100001450;ORG MICHAEL AVENATTI ESQ;REF 000000                                  1304300440
            07/13                   84,000.00                WIRE/IN-2018071300004100;ORG MICHAEL AVENATTI ESQ;REF 000000                                  1304601206
            07/20                   35,000.00                DEPOSIT 5353042862
            07/25                   23,550.00                ONLINE XFER FROM DDA ***5487 ID: 000004061 2308501772
            07/26                    8,000.00                WIRE/IN-2018072600001645;ORG MICHAEL AVENATTI ESQ;REF 000000                                  1304600544
            07/31                        2.57                INTEREST PAYMENT 0001335587

            ...........................................................................................................................................................................................
            18 CHARGES/DEBITS
            Date                      Amount                 Description
            06/29                        3.13                INTEREST TRANSFER 0100072101
            07/03                   30,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000009774 2308002237
            07/05                    1,900.00                WIRE/OUT-2018070500003011;BNF Geoffrey Johnson 1304400974
            07/05                    8,500.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000003711 2308503067
            07/06                   15,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000001239 2308001223
            07/06                    4,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000004130 2308001227
            07/09                    5,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000008768 2309107009
            07/10                   25,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000003238 2308100883
            07/11                   30,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003317 2307700705
            07/11                   11,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000000468 2307700713
            07/13                    1,900.00                WIRE/OUT-2018071300007588;BNF GEOFFREY JOHNSON 1304602201


A division of ZB, N.A. Member FDIC                                                                                                                                    0043332-0000001-0131580
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                                                 #:1470          July 31, 2018
                                                                                                                              STATE BAR OF CALIFORNIA
                                                                                                                                   4613




           Continued ...
           Date                        Amount               Description
           07/13                     41,000.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000003076 2308502561
           07/13                     41,000.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000000578 2308504505
           07/20                      5,750.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000004770 2309105537
           07/23                      6,100.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000005436 2308902285
           07/25                      7,400.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000004199 2308501759
           07/25                     39,650.00              ONLINE XFER TO DDA GLOBAL BARIS ID: 000005416 2308501777
           07/26                      7,700.00              ONLINE XFER TO DDA EAGAN AVENAT ID: 000004359 2307600633

           ...........................................................................................................................................................................................
           0 CHECKS PROCESSED
           There were no transactions this period.
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                             Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                              $0.00                                    $0.00
           Total Returned Item Fees                                          $0.00                                    $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           06/29                       680.62                                         07/10                   11,280.62                                          07/23                   23,530.62
           07/03                   70,680.62                                          07/11                       280.62                                         07/25                         30.62
           07/05                   60,280.62                                          07/13                       380.62                                         07/26                       330.62
           07/06                   41,280.62                                          07/20                   29,630.62                                          07/31                       333.19
           07/09                   36,280.62


           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                          $2.57                                Number Of Days This Interest Period                                  32
           Interest Paid Year-To-Date 2018                                             $17.04                                 Annual Percentage Yield Earned                                  0.22%




A division of ZB, N.A. Member FDIC                                                                                                                                   0043332-0000002-0131581
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California Bank & Trust               #:1471




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                                                                            0043332-0000002-0131581
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                                    Exhibit 22
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                                                                                                                                                Page 1 of 5
                                                                                                                                                This Statement: August 31, 2018
                                                                                                                                                Last Statement: July 31, 2018

                                                                                                                                                Account             4613



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0043375                                  4244-06-0000-CBT-PG0023-00001


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




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                  our business credit card offer with even more great rewards. Ask for details today.*Terms and conditions apply.


             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  4613                                           $181.06



             ATTORNEY CLIENT TRUST 5794184613                                                                                                                                                220     1



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             333.19                                                    44,850.44                            45,002.57                                 0.00                                 181.06

            ...........................................................................................................................................................................................
            5 DEPOSITS/CREDITS
            Date                      Amount                 Description
            08/01                    1,400.00                WIRE/IN-2018080100004373;ORG MICHAEL AVENATTI ESQ;REF 000000 1304901177
            08/01                    2,450.00                WIRE/IN-2018080100004372;ORG MICHAEL AVENATTI, ESQ;REF 00000 1304901175
            08/02                    6,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000007878 2307502332
            08/28                   35,000.00                DEPOSIT 5353021422
            08/31                        0.44                INTEREST PAYMENT 0000232963

            ...........................................................................................................................................................................................
            7 CHARGES/DEBITS
            Date                      Amount                 Description
            07/31                        2.57                INTEREST TRANSFER 0100072101
            08/01                    4,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000009812 2308403073
            08/02                    1,900.00                WIRE/OUT-2018080200004490;BNF GEOFFREY JOHNSON 1304501233
            08/02                    4,000.00                WIRE/OUT-2018080200004528;BNF PAMELA BAEZ 1304501243
            08/28                    3,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000007620 2307802419
            08/31                    3,100.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000000234 2309301779
            08/31                   29,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000007866 2309305095

            ...........................................................................................................................................................................................
            0 CHECKS PROCESSED
            There were no transactions this period.




A division of ZB, N.A. Member FDIC                                                                                                                                    0043375-0000001-0131600
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                                                #:1477           August 31, 2018
                                                                                                                              STATE BAR OF CALIFORNIA
                                                                                                                                   4613




           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                             Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                              $0.00                                    $0.00
           Total Returned Item Fees                                          $0.00                                    $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           07/31                       330.62                                         08/02                       280.62                                         08/31                       181.06
           08/01                       180.62                                         08/28                   32,280.62


           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                          $0.44                                Number Of Days This Interest Period                                  31
           Interest Paid Year-To-Date 2018                                             $17.48                                 Annual Percentage Yield Earned                                  0.22%




A division of ZB, N.A. Member FDIC                                                                                                                                   0043375-0000002-0131601
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California Bank & Trust               #:1478




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                                    Exhibit 23
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                                                                                                                                                This Statement: September 28, 2018
                                                                                                                                                Last Statement: August 31, 2018

                                                                                                                                                Account             4613



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0051022                                  4272-06-0000-CBT-PG0023-00008


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  4613                                          $4,184.50



             ATTORNEY CLIENT TRUST 5794184613                                                                                                                                                220     8



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             181.06                                                   286,905.52                           263,186.44                             19,715.64                              4,184.50

            ...........................................................................................................................................................................................
            15 DEPOSITS/CREDITS
            Date                      Amount                 Description
            09/05                   50,000.00                DEPOSIT 5353030165
            09/05                   50,000.00                WIRE/IN-2018090500006244;ORG MICHAEL AVENATTI ESQ;REF 000000                                  1304701772
            09/10                   35,000.00                DEPOSIT 5353132504
            09/10                    5,955.00                WIRE/IN-2018091000005708;ORG BANK OF AMERICA;REF 20180910000                                  1304801662
            09/14                    3,522.06                DEPOSIT 5353069547
            09/14                    1,750.00                WIRE/IN-2018091400005669;ORG MICHAEL AVENATTI ESQ;REF 000000                                  1304801576
            09/17                    6,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000004270 2308607802
            09/17                   40,000.00                ONLINE XFER FROM DDA ***4779 ID: 000003525 2308607164
            09/17                    4,375.00                WIRE/IN-2018091700004034;ORG MICHAEL AVENATTI ESQ;REF 000000                                  1305301024
            09/24                   10,000.00                MOBILE XFER FROM DDA ***4779 ID: 000001061 2308304900
            09/25                   15,300.54                DEPOSIT 5353046327
            09/27                   10,000.00                ONLINE XFER FROM DDA ***4779 ID: 000004477 2307303680
            09/28                    5,000.00                MOBILE XFER FROM DDA ***4779 ID: 000006677 2308705552
            09/28                   50,000.00                ONLINE XFER FROM DDA ***4779 ID: 000006943 2308704212
            09/28                        2.92                INTEREST PAYMENT 0001732318

            ...........................................................................................................................................................................................
            39 CHARGES/DEBITS
            Date                      Amount                 Description
            08/31                         .44                INTEREST TRANSFER 0100072101
            09/05                   22,000.00                ONLINE XFER TO DDA ***4779 ID: 000007979 2308303377
            09/05                   11,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000004798 2308303387
            09/05                    7,300.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000007831 2308303391
            09/05                    2,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000007612 2308303833
            09/06                    2,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000007104 2308503771
            09/06                    1,500.00                MOBILE XFER TO DDA AVENATTI & A ID: 000008906 2308505169
            09/07                    2,500.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000008388 2309401029
            09/07                   14,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000000826 2309403713
            09/07                    2,300.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003056 2309405079
            09/10                    6,000.00                WIRE/OUT-2018091000005525;BNF Tabitha A Barela 1304801598
            09/10                    8,850.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000004308 2308605925
            09/11                    6,000.00                WIRE/OUT-2018091100001472;BNF Tabitha A Barela 1304800568
            09/11                    2,500.00                ONLINE XFER TO DDA AVENATTI & A ID: 000009693 2308803555
            09/12                    2,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000001814 2308200709
            09/12                    3,400.00                ONLINE XFER TO DDA AVENATTI & A ID: 000008329 2308202941
            09/14                    5,000.00                WIRE/OUT-2018091400007154;BNF Brandon S. Parraway 1304801960


A division of ZB, N.A. Member FDIC                                                                                                                                    0051022-0000001-0120610
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                                                                                                                                    4613




           Continued ...
           Date                        Amount                Description
           09/14                      2,400.00               ONLINE XFER TO DDA AVENATTI & A ID: 000000758 2307803649
           09/14                     42,000.00               MOBILE XFER TO DDA EAGAN AVENAT ID: 000005045 2307804001
           09/17                      1,900.00               WIRE/OUT-2018091700007250;BNF Geoffrey Johnson 1305301748
           09/17                      3,600.00               ONLINE XFER TO DDA AVENATTI & A ID: 000003098 2308600629
           09/17                      4,400.00               ONLINE XFER TO DDA AVENATTI & A ID: 000009466 2308605817
           09/17                      5,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000008649 2308607171
           09/17                      6,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000005727 2308607799
           09/17                      6,000.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000005382 2308607813
           09/18                      5,000.00               WIRE/OUT-2018091800002973;BNF De Amda Law Firm, PC 1305500726
           09/18                      2,500.00               ONLINE XFER TO DDA AVENATTI & A ID: 000002176 2308600647
           09/19                      4,536.00               WIRE/OUT-2018091900005814;BNF Brandon S Parraway 1304401552
           09/20                      2,500.00               ONLINE XFER TO DDA AVENATTI & A ID: 000000193 2308100697
           09/21                      3,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000000313 2308103229
           09/24                     10,000.00               MOBILE XFER TO DDA AVENATTI & A ID: 000002784 2308304915
           09/25                      3,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000005354 2308102727
           09/25                      1,500.00               MOBILE XFER TO DDA AVENATTI & A ID: 000000585 2308105061
           09/26                      2,500.00               ONLINE XFER TO DDA AVENATTI & A ID: 000003379 2307900633
           09/26                      2,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000002270 2307902455
           09/27                      2,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000007347 2307304093
           09/28                      2,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000000062 2308702201
           09/28                     50,000.00               MOBILE XFER TO DDA EAGAN AVENAT ID: 000005724 2308704915
           09/28                      3,000.00               MOBILE XFER TO DDA AVENATTI & A ID: 000003271 2308705547

           ...........................................................................................................................................................................................
           4 CHECKS PROCESSED
           Number..............Date............................Amount       Number..............Date............................Amount      Number..............Date............................Amount
           9999             09/24                        1,455.50          9999*                 09/27                        1,572.14      9999*               09/28                      1,637.50
           9999*            09/27                       15,050.50
           * Not in check sequence
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                              Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                               $0.00                                    $0.00
           Total Returned Item Fees                                           $0.00                                    $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           08/31                       180.62                                         09/12                   47,785.62                                          09/21                     9,596.68
           09/05                   57,880.62                                          09/14                    3,657.68                                          09/24                     8,141.18
           09/06                   54,380.62                                          09/17                   27,132.68                                          09/25                   18,941.72
           09/07                   35,580.62                                          09/18                   19,632.68                                          09/26                   14,441.72
           09/10                   61,685.62                                          09/19                   15,096.68                                          09/27                     5,819.08
           09/11                   53,185.62                                          09/20                   12,596.68                                          09/28                     4,184.50


           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                          $2.92                                 Number Of Days This Interest Period                                 28
           Interest Paid Year-To-Date 2018                                             $20.40                                  Annual Percentage Yield Earned                                 0.22%




A division of ZB, N.A. Member FDIC                                                                                                                                   0051022-0000002-0120611
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                                                                      0051022-0000003-0120612
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                                    Exhibit 24
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                                                 #:1489                   Statement of Accounts
                                                                                                                                                Page 1 of 5
                                                                                                                                                This Statement: October 31, 2018
                                                                                                                                                Last Statement: September 28, 2018

                                                                                                                                                Account             4613



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0043010                                  4305-06-0000-CBT-PG0023-00005


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  4613                                         $15,047.53



             ATTORNEY CLIENT TRUST 5794184613                                                                                                                                                220     5



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             4,184.50                                                 176,989.97                           163,852.92                              2,274.02                             15,047.53

            ...........................................................................................................................................................................................
            19 DEPOSITS/CREDITS
            Date                      Amount                 Description
            10/01                    5,000.00                ONLINE XFER FROM DDA ***4779 ID: 000005579 2308602780
            10/01                    8,000.00                ONLINE XFER FROM DDA ***4779 ID: 000008614 2308608290
            10/01                   13,000.00                ONLINE XFER FROM DDA ***4779 ID: 000005112 2308606064
            10/02                    4,000.00                ONLINE XFER FROM DDA ***4779 ID: 000001853 2308300708
            10/02                    4,000.00                ONLINE XFER FROM DDA ***4779 ID: 000007662 2308303198
            10/10                    3,151.40                WIRE/IN-2018101000007150;ORG FIGHT PAC 1305302112
            10/12                    2,274.02                DEPOSIT 5353024101
            10/12                   40,000.00                WIRE/IN-2018101200000702;ORG VICTOR NGUYEN;REF DCD OF 18/10/ 1305400450
            10/15                   15,050.50                DEPOSIT 5353111587
            10/16                    4,000.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000004170 2308200624
            10/16                   19,914.15                WIRE/IN-2018101600006570;ORG FIGHT PAC 1304601794
            10/17                    9,000.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000004613 2308600586
            10/24                      500.00                MOBILE XFER FROM DDA ***5487 ID: 000003097 2307601684
            10/24                    1,100.00                MOBILE XFER FROM DDA ***4779 ID: 000002965 2307600856
            10/24                    8,711.23                WIRE/IN-2018102400007253;ORG FIGHT PAC 1304901916
            10/29                   35,000.00                DEPOSIT 5353097934
            10/31                      287.56                MOBILE XFER FROM DDA ***4779 ID: 000005635 2308001818
            10/31                    4,000.00                DEPOSIT 5353042649
            10/31                        1.11                INTEREST PAYMENT 0000459280

            ...........................................................................................................................................................................................
            40 CHARGES/DEBITS
            Date                      Amount                 Description
            09/28                        2.92                INTEREST TRANSFER 0100072101
            10/01                   12,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000009093 2308606071
            10/01                    3,500.00                MOBILE XFER TO DDA AVENATTI & A ID: 000008628 2308600679
            10/01                    1,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000009487 2308602785
            10/01                    4,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000000959 2308602787
            10/01                    8,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000002626 2308608295
            10/02                    4,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003593 2308300711
            10/02                    4,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000001740 2308303201
            10/03                    1,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000008923 2309102911
            10/05                      200.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000008139 2308903191
            10/10                    3,000.00                WIRE/OUT-2018101000007739;BNF Benjamin Talei md 1305302280
            10/12                    7,000.00                WIRE/OUT-2018101200002507;BNF Brandon S Parraway 1305401098
            10/12                    1,000.00                WIRE/OUT-2018101200002529;BNF Geoffrey Johnson 1305401102


A division of Zions Bancorporation, N.A. Member FDIC                                                                                                                  0043010-0000001-0116545
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                                                                                                                                   4613




           Continued ...
           Date                        Amount                Description
           10/12                      1,750.00               ONLINE XFER TO DDA AVENATTI & A ID: 000005428 2309001767
           10/12                        200.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000002966 2309001777
           10/12                      3,600.00               ONLINE XFER TO DDA AVENATTI & A ID: 000005896 2309003503
           10/12                      9,000.00               MOBILE XFER TO DDA EAGAN AVENAT ID: 000002324 2309005139
           10/15                      3,400.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000007769 2306004287
           10/15                      3,500.00               ONLINE XFER TO DDA AVENATTI & A ID: 000001291 2306002003
           10/15                        500.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000005264 2306002005
           10/15                      1,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000000486 2306008193
           10/15                     11,900.00               MOBILE XFER TO DDA EAGAN AVENAT ID: 000000166 2306008623
           10/16                      1,500.00               WIRE/OUT-2018101600003472;BNF Mareli Miniutti 1304600862
           10/16                        200.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000009069 2308200623
           10/16                      3,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000007730 2308202585
           10/16                     32,000.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000003379 2308204641
           10/19                      8,500.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000001716 2308700961
           10/19                        800.00               ONLINE XFER TO DDA AVENATTI & A ID: 000001833 2308703203
           10/19                      2,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000005930 2308704189
           10/24                      6,700.00               WIRE/OUT-2018102400007086;BNF Carlos Colorado 1304901872
           10/24                      1,100.00               MOBILE XFER TO DDA EAGAN AVENAT ID: 000008817 2307600859
           10/24                        500.00               MOBILE XFER TO DDA AVENATTI & A ID: 000007958 2307601689
           10/25                        200.00               MOBILE XFER TO DDA PASSPORT 420 ID: 000009520 2308100697
           10/25                        200.00               MOBILE XFER TO DDA AVENATTI & A ID: 000006956 2308100725
           10/25                        500.00               ONLINE XFER TO DDA AVENATTI & A ID: 000002967 2308103347
           10/29                        600.00               ONLINE XFER TO DDA AVENATTI & A ID: 000008308 2309005475
           10/30                     13,500.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000000928 2308600733
           10/30                      1,000.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000008321 2308600737
           10/31                      4,000.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000008563 2308000735
           10/31                      4,000.00               MOBILE XFER TO DDA AVENATTI & A ID: 000001032 2308000777

           ...........................................................................................................................................................................................
           1 CHECK PROCESSED
           Number..............Date............................Amount
           9999                 10/29                     2,274.02
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                              Total for This Period                      Total Year-to-Date
           Total Overdraft Fees                                               $0.00                                   $0.00
           Total Returned Item Fees                                           $0.00                                   $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           09/28                     4,181.58                                         10/12                   20,357.00                                          10/24                     2,032.88
           10/01                     1,681.58                                         10/15                   15,107.50                                          10/25                     1,132.88
           10/02                     1,681.58                                         10/16                    2,321.65                                          10/29                   33,258.86
           10/03                        681.58                                        10/17                   11,321.65                                          10/30                   18,758.86
           10/05                        481.58                                        10/19                        21.65                                         10/31                   15,047.53
           10/10                        632.98


           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                          $1.11                                Number Of Days This Interest Period                                  33
           Interest Paid Year-To-Date 2018                                             $21.51                                 Annual Percentage Yield Earned                                  0.27%




A division of Zions Bancorporation, N.A. Member FDIC                                                                                                                 0043010-0000002-0116546
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                                    Exhibit 26
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                                    Exhibit 27
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                                    Exhibit 28
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                                    Exhibit 29
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                                    Exhibit 30
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                                    Exhibit 31
                                                                  Case
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                                                                                            Main Document
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                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Ira D. Kharasch (CA Bar No. 109084)
                                                                   2   Robert M. Saunders (CA Bar No. 226172)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   E-mail: rpachulski@pszjlaw.com
                                                                                ikharasch@pszjlaw.com
                                                                   6            rsaunders@pszjlaw.com

                                                                   7   Attorneys for Eagan Avenatti LLP,
                                                                       Debtor and Debtor in Possession
                                                                   8
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                SANTA ANA DIVISION
                                                                  11
                                                                       In re:                                             Case No.: 8:17-bk-11961-CB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       EAGAN AVENATTI, LLP                                Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                          ERRATA TO EXHIBIT B-75
                                                                  14                                  Debtor.
                                                                                                                          [Relates to Docket No. 149]
                                                                  15

                                                                  16

                                                                  17
                                                                                Eagan Avenatti, LLP, debtor and debtor-in-possession herein, hereby attaches the correct
                                                                  18
                                                                       Exhibit B-75, which replaces Exhibit B-75 annexed to Docket No. 149.
                                                                  19

                                                                  20
                                                                       Dated: August 21, 2017                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                  21

                                                                  22                                                 By       /s/ Robert M. Saunders
                                                                                                                              Richard M. Pachulski
                                                                  23                                                          Ira D. Kharasch
                                                                                                                              Robert M. Saunders
                                                                  24
                                                                                                                              Attorneys for Eagan Avenatti LLP, Debtor
                                                                  25                                                          and Debtor in Possession
                                                                  26

                                                                  27

                                                                  28


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Case
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                      Case
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                                                             COURT CASES

   CASE NAME                           COURT                 CASE NO.            NOTES (including whether a settlement has 
                                                                                 been approved by the Court)

 1 Alvarez v. Campbell/ City of Los    LASC ‐ Santa Monica   BC537145            Trial 9/25/17 ‐ Likely Delayed Due to Appeal
   Angeles

 2 Bahamas Surgery Center v.           USDC ‐ Central        14‐CV‐08390 DMG     $454 Million Verdict ‐ Post Trial Motions 
   Kimberly‐Clark Corporation          California                                Pending

 3 Biloxi Freezing v. Mississippi      Circuit Court         A2401‐16‐77         Motion to Dismiss Pending ‐ Case Stayed 
   Power Company                       Harrison County                           Pending Ruling
                                       Mississippi

 4 Burton v. Carrey                    LASC                  BC634315            Trial 4/26/18

 5 Croxton v. Myla                     OCSC                  30‐2017‐00907481    Filed 3/8/17

 6 Engel v. Marina Del Rey             LASC                  BC638697            Trial 4/27/18
   Hospital

 7 Greco v. NFL                        USDC ‐ Northern       3:13‐CV‐1005‐M      Filed 2/5/13
                                       Texas

 8 Hansen v. Goodman                   LASC                  BC637521            Trial 4/18/18

 9 Heritage v. DFG Group, LLC          Florida Fourth        4D16‐2972           Underlying Case Circuit Court Palm Beach 
                                       District Court of                         County Florida, Case No. 2005 CA 00709 ‐ 
                                       Appeal                                    Appellant's Reply Brief Due 6/12/17


10 Herrick v. National Football        USDC ‐ Northern       5:17‐cv‐472         Discovery Pending ‐ Class Certification Hearing 
   League                              Ohio                                      11/6/17
                       Case
                        Case8:18-cv-01644-VAP-KES
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   CASE NAME                          COURT                 CASE NO.              NOTES (including whether a settlement has 
                                                                                  been approved by the Court)
11 Kirschner v. Service Corporation   LASC                  BC491632              Remanded after Appeal ‐ Awaiting Status 
                                                                                  Conference Date

12 Knaggs v. Yahoo                    USDC ‐ Northern       15‐mc‐80281           Discovery Dispute
                                      California

13 Koss v. Park Bank                  Wisconsin Court of    2016AP636             Underlying Case Wisconsin Circuit Court 
                                      Appeals                                     Milwaukee County, Case No. 10‐CV‐21290 ‐ 
                                                                                  Appellant's Reply Brief Due 7/7/17


14 Loftin v. QA Investments           Superior Court of     03‐CVS‐16882          Motion for Summary Judgment Pending ‐ Filed 
                                      Wake County North                           5/4/17
                                      Carolina

15 Medline v. Kimberly‐Clark          USDC ‐ Northern       1:17‐cv‐02032         Case Transferred from CA to GA 6/5/17 ‐ 
                                      Georgia                                     Motion to Dismiss Pending Prior to Transfer



16 Meridian v. Kooshian               USCA Ninth Circuit    15‐35465              Underlying case USDC Western Washington, 
                                                                                  Case No. 2:12‐cv‐01594 ‐ Mandate Issued 
                                                                                  6/8/17 

17 Naeyaert v. Kimberly‐Clark         USDC Central          5:17‐cv‐00950         Removed to USDC 5/15/17 Motion to Dismiss 
                                      California                                  Pending

18 Parrish v. Latham Watkins          Supreme Court of      S228277               Oral Argument Before Supreme Court 6/6/17
                                      California

19 Racine v. Selekt Media             LASC                  BC693922              Trial 3/18/18

20 Saud v. Saxton                     LASC                  BC476972              Awaiting Trial Date After Appeal
                     Case
                      Case8:18-cv-01644-VAP-KES
                           8:17-bk-11961-CB Doc Document
                                                212 Filed51-4
                                                           08/22/17
                                                                Filed 02/12/19
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                                                                               Page 6311:38:34
                                                                                       of 127 Page
                                                                                               DescID
                                               Main Document
                                                         #:1524 Page 5 of 7

   CASE NAME                           COURT             CASE NO.               NOTES (including whether a settlement has 
                                                                                been approved by the Court)

21 Scott v. Service Corporation        LASC              BC421528               Previously Settled with Court Approval; Final 
   International                                                                Accounting and Judgment of Dismissal 
                                                                                Pending

22 Shahinian v. Kimberly‐Clark (Qui    USDC ‐ Central    2:14‐cv‐08313 JAK      Motion to Dismiss Taken Under Submission 
   Tam)                                California                               6/5/17

23 Silva v. Minsky (Children's         LASC              BS167372               Multiple Cases LASC/OCSC ‐ Coordination 
   Dental Group Cases)                                                          Hearing 7/21/17 in OCSC Complex


24 Sweetman v. Carrey                  LASC              BC636760               Trial 4/26/18
      Case
       Case8:18-cv-01644-VAP-KES
            8:17-bk-11961-CB Doc Document
                                 212 Filed51-4
                                            08/22/17
                                                 Filed 02/12/19
                                                       Entered 08/22/17
                                                                Page 6411:38:34
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                                Main Document
                                          #:1525 Page 6 of 7


                                                 PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): ERRATA TO EXHIBIT B-75 will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
22, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 22, 2017, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 22, 2017, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA MESSENGER/PERSONAL DELIVERY
Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
411 West Fourth Street, Suite 5165
Santa Ana, CA 92701-4593

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 22, 2017                                  Myra Kulick                                 /s/ Myra Kulick
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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        Case
         Case8:18-cv-01644-VAP-KES
              8:17-bk-11961-CB Doc Document
                                   212 Filed51-4
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                                                         Entered 08/22/17
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                                                                                  DescID
                                  Main Document
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                                                                 SERVICE LIST

 Eagan Avenatti, LLP
 Chapter 11 Case No. 8:17-bk-11961-CB

TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Mikel R Bistrow mikel.bistrow@dinsmore.com, caron.burke@dinsmore.com
        Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com
        Christopher Celentino chris.celentino@dinsmore.com, caron.burke@dinsmore.com
        Sara Chenetz schenetz@perkinscoie.com, dlax@perkinscoie.com;cmallahi@perkinscoie.com
        David B Golubchik dbg@lnbyb.com, dbg@ecf.inforuptcy.com
        Michael J Hauser michael.hauser@usdoj.gov
        Mark S Horoupian mhoroupian@sulmeyerlaw.com,
         ppenn@sulmeyerlaw.com;mhoroupian@ecf.inforuptcy.com;dperez@sulmeyerlaw.com;ppenn@ecf.inforuptcy.co
         m
        Sheri Kanesaka sheri.kanesaka@fnf.com, Christine.hipp@fnf.com
        Isaac Marcushamer
        Malhar S Pagay mpagay@pszjlaw.com, mpagay@pszjlaw.com
        R Gibson Pagter gibson@ppilawyers.com, ecf@ppilawyers.com;r51779@notify.bestcase.com
        Thomas J Polis tom@polis-law.com, paralegal@polis-law.com;r59042@notify.bestcase.com
        Robert M Saunders rsaunders@pszjlaw.com, rsaunders@pszjlaw.com
        Najah J Shariff najah.shariff@usdoj.gov, USACAC.criminal@usdoj.gov
        David H Stein dstein@wilentz.com
        Michael K Symons mike@symonsmarkwith.com, mike@symonsmarkwith.com
        United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

VIA U.S. MAIL

 2002 Service List                                 Debtor                                              Request for Special Notice
                                                   Eagan Avenatti LLP                                  Innovative Computing Systems
                                                   520 Newport Center Drive, #1400                     3101 Bee Caves Rd Ste 305
                                                   Newport Beach, CA 92660                             Austin, TX 78746

 Eric M. George
 Brown George Ross LLP
 2121 Avenue of the Stars, Suite 2800
 Los Angeles, CA 90067




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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Case 8:18-cv-01644-VAP-KES Document 51-4 Filed 02/12/19 Page 66 of 127 Page ID
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                                    Exhibit 32
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                                  #:1532




                                    Exhibit 33
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                                         #:1533

 Christopher Ayres

From:                                 Christopher Ay res
Sent:                                 Wednesday, May 10, 2017 1:09 PM
To:                                   Keith Braley; Shamar D'Shaw n Davis
Cc:                                   M ichael J. Avenatti (mavenatti@eaganavenat ti.com)
Subject:                              Wire Plans



Gentlemen:

As you aw in a previous emai l. "'e ~houl d rccei'e a " ire on the 17' 11 or 181h in the amount of$1.55 mi ll ion dollars. The
fo ll owing needs to occ ur ASAP after receipt of the wi re. Please transfer those funds out of the 'I rus t account as foliO\~s:
       • $188.281.73 should be t ra n~fcrred to your Ayres Lav.. Oftice Orcrating Accou nt;
       • The balance of $1,361.718.27 shou ld be transferred to an accou nt designated b) Eagan Avenatti LLP. Mr.
          Avcnatti 's finn will send you their wiring instructi ons.

(Michael. plea;;e con fi rm you agree'' ith these" ires.)

Thank you and let me knO\\ if for some reason )OU are um\ ill ing to gi' e direct credit on the fu nds. as we norma lly do.

Sincerely,

Christopher , . A) res

Bourd Certified - Ci1·il Trial Law a11d Personal iJ?illl:v Trial Loll'.
Texas Board of Legal Specialization
Board Cert[fied - Civil Trial Advvcac v.
National Board qf'Triul AJI'oc:ac_l'

AY RES LAW OFF ICE P.C.
4350 Be ltway Dri\ e I Addison. Tc;-.a!> 75001
(972) 99 I -:~222 telephone
(972) 386-0091 facs imi le
(214)668-2729cell phone
www .ayreslaw offi ce .com

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\\ hich may be priv ikged. con fi uentia I. nnd eAernpt from disc losure
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notify us immediate!) at our telephonl' number (972) 991-2n2.
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               Case 8:18-cv-01644-VAP-KES Document 51-4 Filed 02/12/19 Page 79 of 127 Page ID
                                                 #:1540                   Statement of Accounts
                                                                                                                                                Page 1 of 9
                                                                                                                                                This Statement: May 31, 2017
                                                                                                                                                Last Statement: April 28, 2017

                                                                                                                                                Account             2851



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0040638                                  4152-06-0000-CBT-PG0023-00049


            EAGAN AVENATTI LLP
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7034




                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Business Essentials Checking                                           2851                                             $0.00



             BUSINESS ESSENTIALS CHECKING 5791082851                                                                                                                                         104    49



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             19,585.73                                                499,353.70                           124,688.14                           394,251.29                                   0.00

            ...........................................................................................................................................................................................
            13 DEPOSITS/CREDITS
            Date                      Amount                 Description
            05/02                   16,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000004957                          2307401280
            05/03                   14,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000000657                          2308100934
            05/04                    7,500.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000003422                          2307700650
            05/05                    2,100.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000005160                          2307601040
            05/09                    1,200.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000006597                          2307900522
            05/10                      100.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000006933                          2308100908
            05/11                    5,200.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000002800                          2307300622
            05/12                      600.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000000860                          2308001022
            05/15                   12,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000004694                          2307907056
            05/15                    1,230.00                DEPOSIT 5353078962
            05/16                    4,700.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000009589                          2307600704
            05/17                   26,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000005973                          2306800782
            05/17                  408,723.70                WIRE/IN-2017051700002546;ORG AYRES LAW OFFICES                           PC;REF 369176 1303700738

            ...........................................................................................................................................................................................
            28 CHARGES/DEBITS
            Date                      Amount                 Description
            05/01                   12,071.92                ANTHEM BLUE I01O CORP P FL00658432 REF # 017121002584222 1108770384
            05/02                    2,207.49                JOHN HANCOCK ACH DEBIT 0077281 REF # 017121003454425 1106923081
            05/02                      144.00                INSUFFICIENT FUNDS FEE-ITEM PD 1703601708
            05/03                       72.00                INSUFFICIENT FUNDS FEE-ITEM PD 1704001732
            05/04                       36.00                INSUFFICIENT FUNDS FEE-ITEM PD 1703601414
            05/05                       36.00                INSUFFICIENT FUNDS FEE-ITEM PD 1703701101
            05/09                       36.00                INSUFFICIENT FUNDS FEE-ITEM PD 1704201726
            05/11                       36.00                INSUFFICIENT FUNDS FEE-ITEM PD 1703701298
            05/12                      486.10                PAYCHEX EIB INVOICE X71290400000281REF # 017132001731300 1107433517
            05/15                    9,322.48                FIRST INSURANCE INSURANCE REF # 017135002529126 1107344266
            05/16                      108.00                INSUFFICIENT FUNDS FEE-ITEM PD 1704201773
            05/17                       14.00                WIRE FEE-INCOMING DOMESTIC
            05/17                    2,207.49                JOHN HANCOCK ACH DEBIT 0077281 REF # 017136004108186 1106323088
            05/17                      180.00                INSUFFICIENT FUNDS FEE-ITEM PD 1703601426
            05/18                       50.00                PITNEY BOWES PITNEY3 800090900457911REF # 017138005047561 1107229182
            05/18                      421.26                PITNEY BOWES PITNEY2 0016322879 REF # 017138005047543 1107229179
            05/18                    4,508.17                STAPLES COMPANY 5JY0IPL 100000000016167REF # 017138005173483 1107227428
            05/18                   12,072.42                ANTHEM BLUE I01O CORP P FL00682064 REF # 017138005172797 1107228089
            05/18                   26,246.84                IRS USATAXPYMT 270753873668801REF # 017138005196567 1107227966


A division of ZB, N.A. Member FDIC                                                                                                                                    0040638-0000001-0112223
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                                                                            9 81 of 127 Page ID
                                                #:1542           May 31, 2017
                                                                                                                              EAGAN AVENATTI LLP
                                                                                                                                   2851




           Continued ...
           Date                        Amount                Description
           05/18                     27,847.43               IRS USATAXPYMT 270753842321702REF # 017138005196566 1107227965
           05/19                      5,917.18               EMPLOYMENT DEVEL EDD EF 90776448 REF # 017139005809451 1107731495
           05/19                      6,233.05               EMPLOYMENT DEVEL EDD EF 496948096 REF # 017139005809452 1107731496
           05/19                        568.40               COX COMM ORG BANKDRAFT REF # 017138005251996 1107711985
           05/19                      3,952.00               COX COMM ORG BANKDRAFT REF # 017138005251995 1107711984
           05/19                      4,113.30               ACHMA VISB BILL PYMNT REF # 017138005273274 1107712440
           05/22                        260.00               ANALYSIS SERVICE FEE
           05/23                        177.77               DLX For Business BUS PR 02039880584128 REF # 017142006944990 1106804668
           05/30                      5,362.84               ONLINE XFER TO DDA ***0313 ID: 000008268 2308106495

           ...........................................................................................................................................................................................
           48 CHECKS PROCESSED
           Number..............Date............................Amount       Number..............Date............................Amount      Number..............Date............................Amount
           0                05/23                      143,233.46          15991                05/22                        90.00          52360*              05/16                      1,873.70
           15915*           05/03                        7,976.06          15992                05/19                     2,136.61          52362*              05/15                      2,800.00
           15977*           05/10                        5,218.17          15993                05/19                       606.42          52363               05/16                      5,323.51
           15978            05/17                        2,664.00          15994                05/23                     6,000.00          52364               05/15                      2,377.73
           15979            05/17                          256.00          15995                05/23                    11,330.46          52365               05/17                      2,023.99
           15980            05/17                      109,814.00          15996                05/24                       100.00          52366               05/16                      5,783.98
           15981            05/19                        3,955.00          15997                05/17                        32.03          52368*              05/16                      1,800.00
           15982            05/22                        1,378.00          52347*               05/01                     5,323.50          52369               05/16                      2,789.50
           15983            05/19                          551.50          52348                05/01                     2,377.73          52370               05/16                      2,188.63
           15984            05/23                          333.00          52349                05/01                     2,024.00          52371               05/17                      7,561.18
           15985            05/17                          311.50          52350                05/01                     5,783.97          52372               05/19                      4,877.36
           15986            05/18                        5,218.17          52351                05/08                     1,202.30          52373               05/16                      3,486.73
           15987            05/19                           82.95          52354*               05/04                     2,188.63          52374               05/17                      5,064.06
           15988            05/17                          581.76          52355                05/02                     7,546.80          52375               05/15                      1,837.26
           15989            05/19                          959.25          52356                05/01                     4,877.34          52376               05/26                      1,873.70
           15990            05/19                          385.00          52358*               05/02                     6,484.11          52377               05/15                      1,568.24
           * Not in check sequence
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                              Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                            $648.00                                $2,442.00
           Total Returned Item Fees                                           $0.00                                   $72.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           05/01                  -12,872.73                                          05/10                   -5,120.29                                          05/19                 170,139.23
           05/02                  -13,255.13                                          05/11                        43.71                                         05/22                 168,411.23
           05/03                    -7,303.19                                         05/12                       157.61                                         05/23                     7,336.54
           05/04                    -2,027.82                                         05/15                   -4,518.10                                          05/24                     7,236.54
           05/05                        36.18                                         05/16                  -23,172.15                                          05/26                     5,362.84
           05/08                    -1,166.12                                         05/17                 280,841.54                                           05/30                          0.00
           05/09                         -2.12                                        05/18                 204,477.25




A division of ZB, N.A. Member FDIC                                                                                                                                   0040638-0000002-0112224
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California Bank & Trust               #:1543




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                                   #:1564




                                     Exhibit 40
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                                                #:1565                   Statement of Accounts
                                                                                                                                                Page 1 of 8
                                                                                                                                                This Statement: May 31, 2017
                                                                                                                                                Last Statement: April 28, 2017

                                                                                                                                                Account 3           0661



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0035968                                  4152-06-0000-CBT-PG0023-00016


            AVENATTI & ASSOC A PROFESSIONAL CORP
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7034




                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Business Essentials Checking                                           0661                                         $12,940.68



             BUSINESS ESSENTIALS CHECKING 3648940661                                                                                                                                         104    16



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             446.52                                                  1,195,801.38                         1,048,254.66                          135,052.56                              12,940.68

            ...........................................................................................................................................................................................
            19 DEPOSITS/CREDITS
            Date                       Amount                Description
            05/01                    5,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006453 2308200966
            05/02                   20,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002573 2307401278
            05/03                   15,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000090 2308100930
            05/03                   43,500.00                DEPOSIT 5353039767
            05/08                   23,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000760 2308205298
            05/08                   75,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002727 2308205046
            05/10                    3,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000711 2308100906
            05/11                    8,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005217 2307300620
            05/12                   20,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001211 2308001018
            05/15                   30,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007494 2307906994
            05/16                   25,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007852 2307602682
            05/17                   26,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001897 2306800776
            05/17                  320,000.00                WIRE/IN-2017051700006210;ORG MICHAEL AVENATTI, ESQ 1303701612
            05/18                  175,000.00                WIRE/IN-2017051800006443;ORG MICHAEL AVENATTI, ESQ 1304301614
            05/19                    2,268.38                DEPOSIT 5353051944
            05/23                  145,000.00                WIRE/IN-2017052300004581;ORG MICHAEL AVENATTI, ESQ 1304201218
            05/31                   10,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004773 2307003204
            05/31                       33.00                74692164N00KZ0DEM 7674 UNITED 0162928759800-932-2732 TX 1206814879
            05/31                  250,000.00                WIRE/IN-2017053100005824;ORG THE X-LAW GROUP, PC;OBI TORRE;R 1304101380

            ...........................................................................................................................................................................................
            120 CHARGES/DEBITS
            Date                       Amount                Description
            05/01                       19.99                24121573N003FSTKL 7674 EXHIBITINDEXES/PAMCO 800-6988423 NJ 1207752688
            05/01                       77.67                24164053RB01AJB0L 7674 EXXONMOBIL 97650170WEST LOS ANGE CA 1207719825
            05/01                      198.91                24164073PMJ89ZRDF 7674 FEDEX 977361689 800-4633339 TN 1207752689
            05/01                    3,000.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000001447 2308200969
            05/02                    4,000.00                WIRE/OUT-2017050200001998;BNF Christine Carlin;REF Carlin 1304700818
            05/02                      258.82                24275393TS66JD2PY 7674 MOBILITY WORKS - VAN N866-2577350 CA 1207018374
            05/02                   16,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000004957 2307401281
            05/03                       90.24                24692163S004W0R9R 7674 TCA FASTRAK R 949-727-4800 CA 1207318443
            05/03                      299.99                24906413S14A1N4KS 7674 DNH*GODADDY.COM 480-5058855 AZ 1207318444
            05/03                   14,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000000657 2308100935
            05/04                   25,000.00                WIRE/OUT-2017050400001919;BNF Green & Norwood PLLC 1304800576
            05/04                      533.00                24445003VEJ2HAWAK 7674 PUBLIC STORAGE 08504 800-567-0759 CA 1206918088
            05/04                      871.55                0674 ATM WITHDRAWAL BLVD PASEO LOS CABOS 1404711553


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                                                #:1567          May 31, 2017
                                                                                AVENATTI & ASSOC A PROFESSIONAL CORP
                                                                                     0661




           Continued ...
           Date                 Amount    Description
           05/04               7,500.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000003422 2307700651
           05/05                  38.33   24431063W01Z9ZW0A 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1207117960
           05/05                 339.63   74555503WW5E272BG 7674 REST BAR ESQUINA CABOS SAN LUC MX 1207117958
           05/05                  40.09   24164073WMJ8E5719 7674 FEDEX 977894207 800-4633339 TN 1207117961
           05/05                  10.19   74555503WW5E272BG 7674 FOREIGN TRANS. FEE CABOS SAN LUC MX 1207117959
           05/05               2,100.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000005160 2307601041
           05/05               5,000.00   ONLINE XFER TO DDA PASSPORT 420 ID: 000006244 2307601145
           05/08              25,000.00   WIRE/OUT-2017050800004328;BNF Michael & Lisa Avenatti;REF Av 1304700982
           05/08              75,000.00   WIRE/OUT-2017050800004327;BNF Green & Norwood PLLC 1304700980
           05/08                  50.00   24118593X06WDSYTY 7674 META-BILLING.COM 877-387-9077 CA 1207751846
           05/08                 130.67   24164073YMJ89RXWA 7674 FEDEX 978059073 800-4633339 TN 1207751845
           05/08                   4.99   24692163Y0024PBZA 7674 APL* ITUNES.COM/BILL 866-712-7753 CA 1207751847
           05/09                    .99   246921640007XJDKL 7674 APL* ITUNES.COM/BILL 866-712-7753 CA 1207415855
           05/09               1,200.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000006597 2307900523
           05/10                  35.00   24692164100K0NMP5 7674 TCA FASTRAK R 949-727-4800 CA 1207816489
           05/10                  41.50   24224434231TQ9H5X 7674 PANINI CAF?-CORONA CORONA DEL MA CA 1207816488
           05/10                 100.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000006933 2308100909
           05/10                  36.00   INSUFFICIENT FUNDS FEE-ITEM PD 1703601353
           05/11                 157.50   246921642008NRBRQ 7674 IL FORNAIO NPB3091 NEWPORT BEACH CA 1207016838
           05/11                 264.35   241640742MJ8BEDS7 7674 FEDEX 978498260 800-4633339 TN 1207016839
           05/11               5,200.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000002800 2307300623
           05/11                  36.00   INSUFFICIENT FUNDS FEE-ITEM PD 1703701246
           05/12                 249.16   2422899430GTBFAAX 7674 NOBU NEWPORT BEACH NEWPORT BEACH CA 1207617672
           05/12                  73.66   241640743MJ8E0ZM8 7674 FEDEX 978598340 800-4633339 TN 1207617671
           05/12                 600.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000000860 2308001023
           05/12              14,235.98   Ten Thousand Ren Rent REF # 017131001466236 1107424632
           05/15                  96.31   247893044TNLQJWD0 7674 HILLSTONE (310) 576-75LOS ANGELES CA 1208151406
           05/15                 134.00   24692164400G9EK44 7674 IL FORNAIO NPB3091 NEWPORT BEACH CA 1208151407
           05/15                  67.37   24015174401LQXHKV 7674 76 - COSTA MESA OIL COCOSTA MESA CA 1208151408
           05/15                   9.99   24692164500BQBY80 7674 APL* ITUNES.COM/BILL 866-712-7753 CA 1208151405
           05/15                  23.11   241640745MJ898L3D 7674 FEDEX 978778563 800-4633339 TN 1208151404
           05/15                  56.18   243160546FYW5WLG9 7674 SHELL OIL 57442723003 IRVINE CA 1208119964
           05/15                 134.69   2471705464QYFRGP5 7674 TLF BROWNES FLOWERS DANA POINT CA 1208119963
           05/15                 107.75   0674 P.O.S. PURCHASE OSA 6108 OSA 6108 NEWPORT BE CA 1405334391
           05/15              12,000.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000004694 2307907057
           05/16                  54.63   2434285470FV7AQSF 7674 GREENLEAF GOURMET CHOPCOSTA MESA CA 1207316998
           05/16                 436.39   247893047S7FSN35Z 7674 NEIMAN MARCUS #11 949-7591900 CA 1207316997
           05/16                  89.87   2426979472XDDXR1D 7674 ZINQUE VENICE CA 1207316996
           05/16               4,700.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000009589 2307600705
           05/17                  14.00   WIRE FEE-INCOMING DOMESTIC
           05/17              40,000.00   WIRE/OUT-2017051700006224;BNF Christine Carlin;REF Carlin 1303701630
           05/17              50,000.00   WIRE/OUT-2017051700006225;BNF GREEN & NORWOOD PLLC 1303701632
           05/17              60,000.00   WIRE/OUT-2017051700006223;BNF Michael & Lisa Avenatti;REF Av 1303701628
           05/17                  60.00   24431064801ZM4L2M 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1206516692
           05/17                  55.04   2405523485V5XF7J1 7674 WAHOO'S FISH TACO-934 NEWPORT BEACH C 1206516691
           05/17              26,000.00   ONLINE XFER TO DDA EAGAN AVENAT ID: 000005973 2306800783
           05/17             150,000.00   ONLINE XFER TO DDA GLOBAL BARIS ID: 000001398 2306803385
           05/18                  14.00   WIRE FEE-INCOMING DOMESTIC
           05/18                 115.34   2443106492DYT83J1 7674 AMAZON.COM AMZN.COM/BIAMZN.COM/BILL W 1207316744
           05/18                   6.03   24692164900K0M32G 7674 ACCESSLINE *PHONE SVC877-880-0055 WA 1207316748
           05/18                 147.45   247619749609SQP6Z 7674 PF CHANGS #1200 NEWPORT BEACH CA 1207316747
           05/18                  91.54   241640749MJ8L34GN 7674 FEDEX 979239527 800-4633339 TN 1207316746
           05/18                 388.22   24692164900WLT2FM 7674 HOTELS.COM138229636918HOTELS.COM WA 1207316745
           05/18                  39.14   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405610835
           05/18                  13.06   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405610834
           05/18               7,500.00   ONLINE XFER TO DDA PASSPORT 420 ID: 000001321 2307500705
           05/18               3,500.00   ONLINE XFER TO DDA PASSPORT 420 ID: 000003274 2307500981
           05/19              21,000.00   WIRE/OUT-2017051900002105;BNF Larssen Ltd 1304300768
           05/19             100,000.00   WIRE/OUT-2017051900004241;BNF The Escrow Connection;REF Escr 1304301176
           05/19                 151.97   24692164A008DTH9W 7674 IL FORNAIO NPB3091 NEWPORT BEACH CA 1207917026
           05/19                 413.02   24164074AMJAEKS3B 7674 FEDEX 156770422 800-4633339 TN 1207917027
           05/19               1,325.11   24906414914WN2KZY 7674 DNH*GODADDY.COM 480-5058855 AZ 1207917025
           05/22                  37.57   24431064B01ZR7HWY 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1207450816
           05/22                   7.50   24431064B01ZR7HXG 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1207450813
           05/22                 113.63   24013394B02KW92E6 7674 ETTAS SEAFOOD RESTAURASEATTLE WA 1207450812
           05/22                  56.93   24692164B00X2A3ZP 7674 AMAZON MKTPLACE PMTS AMZN.COM/BILL WA 1207450814
           05/22                 156.90   24164074QMJ8HJQHN 7674 FEDEX 234158235 800-4633339 TN 1207450815
           05/23                  14.00   WIRE FEE-INCOMING DOMESTIC
           05/23              50,000.00   WIRE/OUT-2017052300004885;BNF Green & Norwood PLLC 1304201286
           05/23               1,446.43   24828244E0VYYA3TN 7674 BOCONCEPT LA 323-591-0782 CA 1206916145
           05/23                 796.64   24492154EJH83A4NX 7674 WWW.DESIGNCROWD.COM 8003776955 CA 1206916143
           05/23                  39.70   24692164F008T1DT7 7674 AMAZON MKTPLACE PMTS AMZN.COM/BILL WA 1206916144



A division of ZB, N.A. Member FDIC                                                                        0035968-0000002-0097602
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                                                                                                                              AVENATTI & ASSOC A PROFESSIONAL CORP
                                                                                                                                      0661
                                                                                                                              California Bank & Trust


      Continued ...
      Date                        Amount                Description
      05/23                       35.65                  0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405210564
      05/24                   10,000.00                  WIRE/OUT-2017052400005198;BNF GYDE Architects PC 1304801303
      05/24                       41.60                  24692164F00BD2M9Z 7674 TCA FASTRAK R 949-727-4800 CA 1206916601
      05/24                      153.00                  24692164F00B4G1EN 7674 IL FORNAIO NPB3091 NEWPORT BEACH CA 1206916600
      05/24                      153.90                  24228994F0GT0WS4B 7674 NOBU NEWPORT BEACH NEWPORT BEACH CA 1206916602
      05/24                       46.00                  24164074FMJ8FDGM1 7674 FEDEX 234491919 800-4633339 TN 1206916599
      05/24                    5,000.00                  ONLINE XFER TO DDA PASSPORT 420 ID: 000000006 2307202467
      05/25                        8.13                  24431064G01ZX8AWJ 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1206916756
      05/25                       38.09                  24055234G5V5XF78R 7674 WAHOO'S FISH TACO-934 NEWPORT BEACH C 1206916757
      05/25                      100.00                  24269754GS66FQ3QR 7674 CRISTOPHE SALON 949-2190920 CA 1206916758
      05/25                       19.19                  24164074GMJ8993JV 7674 FEDEX 234594347 800-4633339 TN 1206916755
      05/26                      100.00                  24828244H0VZ3J166 7674 TRADITIONAL JEWELERS NEWPORT BEACH CA 1208117208
      05/26                      116.00                  24492154J0S1HE3DW 7674 COURTCALL *#8370701310-342-0888 CA 1208117206
      05/26                      116.00                  24492154J0S1HEKHP 7674 COURTCALL *#8370721310-342-0888 CA 1208117207
      05/30                   10,000.00                  WIRE/OUT-2017053000004403;BNF Christine Carlin;REF Carlin 1304401242
      05/30                    3,600.00                  WIRE/OUT-2017053000005567;BNF Christine Carlin;REF Carlin 1304401528
      05/30                       16.85                  74313304J000NT75D 7674 UBER BV 800-592-8996 NL 1207463320
      05/30                      370.75                  74976004KG3E2854S 7674 LES CHANDELLES PARIS FR 1207430191
      05/30                       56.70                  24164074MMJ8TKQBK 7674 FEDEX 234852076 800-4633339 TN 1207411572
      05/30                      367.38                  74976004LG3F6PBGR 7674 LES CHANDELLES PARIS FR 1207430189
      05/30                       11.23                  74987504M7E6M2RPR 7674 UBER FR MAY29 KJV2B HEhelp.uber.com N 1207411573
      05/30                         .51                  74313304J000NT75D 7674 FOREIGN TRANS. FEE 800-592-8996 NL 1207463321
      05/30                       11.12                  74976004KG3E2854S 7674 FOREIGN TRANS. FEE PARIS FR 1207430192
      05/30                       11.02                  74976004LG3F6PBGR 7674 FOREIGN TRANS. FEE PARIS FR 1207430190
      05/30                         .34                  74987504M7E6M2RPR 7674 FOREIGN TRANS. FEE help.uber.com NL 1207411574
      05/31                       14.00                  WIRE FEE-INCOMING DOMESTIC
      05/31                   50,000.00                  WIRE/OUT-2017053100007738;BNF Green & Norwood PLLC 1304101908
      05/31                  232,875.00                  WIRE/OUT-2017053100009232;BNF HTP Motorsport GmbH 1304102192
      05/31                       45.00                  24717054NTBLTHF14 7674 AGENT FEE 8900705277LARGAY TRAVEL CT 1206814885
      05/31                    1,323.85                  24692164N00PQ85BJ 7674 UNITED 0168624632800-932-2732 TX 1206814883
      05/31                       33.00                  24692164N00KYPFVK 7674 UNITED 0162928759800-932-2732 TX 1206814881
      05/31                       33.00                  24692164N00KYPFVV 7674 UNITED 0162928760800-932-2732 TX 1206814882
      05/31                       33.00                  24692164N00KYPFW3 7674 UNITED 0162928761800-932-2732 TX 1206814884
      05/31                       11.23                  24431054NRQEBQET4 7674 BRISTOL FARMS # 07 NEWPORT BEACH CA 1206814880
      05/31                      305.40                  24445004PHEYR41KN 7674 PACER800-676-6856IR 800-676-6856 TX 1206814886

      ...........................................................................................................................................................................................
      14 CHECKS PROCESSED
      Number..............Date............................Amount       Number..............Date............................Amount      Number..............Date............................Amount
      0                05/24                        2,000.00          1701*                05/24                     1,348.00          1707                05/25                    13,000.00
      1644*            05/09                        1,800.00          1703*                05/22                     6,950.00          9999*               05/15                    16,000.00
      1646*            05/10                        4,000.00          1704                 05/22                    50,000.00          9999*               05/16                     2,000.00
      1694*            05/31                       11,000.00          1705                 05/22                     2,750.00          9999*               05/16                    23,160.00
      1698*            05/05                           44.56          1706                 05/23                     1,000.00
      * Not in check sequence
      ..........................................................................................................................................................................................

      AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                         Total for This Period                       Total Year-to-Date
      Total Overdraft Fees                                             $72.00                                  $756.00
      Total Returned Item Fees                                           $0.00                                    $0.00

      To learn more about our other products and services that may lower the cost of managing account
      overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
      Service or visit your local branch.




A division of ZB, N.A. Member FDIC                                                                                                                                     0035968-0000002-0097602
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                                                #:1569          May 31, 2017
                                                                                                                              AVENATTI & ASSOC A PROFESSIONAL CORP
                                                                                                                                   0661




           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           05/01                     2,149.95                                         05/11                       466.55                                         05/22                     3,599.39
           05/02                     1,891.13                                         05/12                    5,307.75                                          05/23                   95,266.97
           05/03                   46,000.90                                          05/15                    6,678.35                                          05/24                   76,524.47
           05/04                   12,096.35                                          05/16                    1,237.46                                          05/25                   63,359.06
           05/05                     4,523.55                                         05/17                   21,108.42                                          05/26                   63,027.06
           05/08                     2,337.89                                         05/18                 184,293.64                                           05/30                   48,581.16
           05/09                      -663.10                                         05/19                   63,671.92                                          05/31                   12,940.68
           05/10                    -1,875.60




A division of ZB, N.A. Member FDIC                                                                                                                                   0035968-0000003-0097603
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California Bank & Trust                #:1570




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                                                #:1573                   Statement of Accounts
                                                                                                                                                Page 1 of 5
                                                                                                                                                This Statement: June 30, 2017
                                                                                                                                                Last Statement: May 31, 2017

                                                                                                                                                Account             0661



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0044293                                  4182-06-0000-CBT-PG0023-00005


            AVENATTI & ASSOC A PROFESSIONAL CORP
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7034




                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Business Essentials Checking                                           0661                                         $13,879.77



             BUSINESS ESSENTIALS CHECKING 3648940661                                                                                                                                         104     5



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             12,940.68                                                452,389.85                           427,550.05                             23,900.71                             13,879.77

            ...........................................................................................................................................................................................
            14 DEPOSITS/CREDITS
            Date                       Amount                Description
            06/01                    1,323.85                74692164P00GJLRG0 7674 UNITED 0168624632800-932-2732 TX 1207116794
            06/02                   65,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007707 2308104068
            06/02                       33.00                74692164R00WEVHAP 7674 UNITED 0162928760800-932-2732 TX 1207719147
            06/02                       33.00                74692164R00WEVHAY 7674 UNITED 0162928761800-932-2732 TX 1207719148
            06/05                    5,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008739 2308306230
            06/06                  160,000.00                WIRE/IN-2017060600004679;ORG MICHAEL AVENATTI, ESQ 1304301336
            06/07                   15,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009392 2307702668
            06/08                    2,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009887 2307200704
            06/16                  100,000.00                WIRE/IN-2017061600007952;ORG MICHAEL AVENATTI, ESQ 1304602028
            06/23                   50,000.00                WIRE/IN-2017062300006136;ORG MICHAEL AVENATTI, ESQ 1304101596
            06/26                   10,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007680 2308103710
            06/27                    5,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008349 2308100976
            06/28                    4,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008017 2307400900
            06/30                   35,000.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007335 2307803736

            ...........................................................................................................................................................................................
            104 CHARGES/DEBITS
            Date                       Amount                Description
            06/01                       43.01                24445004P2XAD3QMT 7674 5GUYS 1305 QSR NEWPORT BEACH CA 1207116797
            06/01                        2.25                24692164P00B67Z28 7674 STARBUCKS STORE 05563 NEWPORT BEACH C 1207116796
            06/01                        4.55                24692164P00B67ZBK 7674 STARBUCKS STORE 05563 NEWPORT BEACH C 1207116795
            06/01                       61.26                24431064R0204AJAS 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1207116798
            06/02                   75,000.00                WIRE/OUT-2017060200006662;BNF Michael & Lisa Avenatti;REF Av 1304301897
            06/02                      771.85                24692164R003KJJQN 7674 UNITED 0168624632800-932-2732 TX 1207719158
            06/02                       45.00                24717054RTBMDHVZ9 7674 AGENT FEE 8900705345LARGAY TRAVEL CT 1207719160
            06/02                       39.00                24692164R00WEAE8V 7674 UNITED 0162928944800-932-2732 TX 1207719161
            06/02                        2.25                24692164R0027TTEH 7674 STARBUCKS STORE 08941 SANTA ANA CA 1207719155
            06/02                       67.66                24692164R00TPVQXD 7674 IL FORNAIO NPB3091 NEWPORT BEACH CA 1207719157
            06/02                        2.25                24692164R0028VL7S 7674 STARBUCKS STORE 05563 NEWPORT BEACH C 1207719159
            06/02                       13.20                24828244R0FX32A6F 7674 JUICE SERVED HERE FAS NEWPORT BEACH C 1207719151
            06/02                       46.50                24164074RMJ87WPW4 7674 FEDEX 235292015 800-4633339 TN 1207719154
            06/02                        7.50                24431064T0205BHPE 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1207719149
            06/02                      300.00                24767254T0001EH9H 7674 DELAWARE DIV OF CORP 302-7393077 DE 1207719150
            06/02                      300.00                24767254T0001DPTE 7674 DELAWARE DIV OF CORP 302-7393077 DE 1207719152
            06/02                      300.00                24767254T0001DPSP 7674 DELAWARE DIV OF CORP 302-7393077 DE 1207719153
            06/02                      190.00                24692164R00754DV3 7674 WKI*CTCORPORATION 800-624-0909 NY 1207719156


A division of ZB, N.A. Member FDIC                                                                                                                                    0044293-0000001-0112812
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                                                                           5  114 of 127 Page ID
                                                #:1575          June 30, 2017
                                                                               AVENATTI & ASSOC A PROFESSIONAL CORP
                                                                                    0661




           Continued ...
           Date                 Amount    Description
           06/05               3,366.98   WIRE/OUT-2017060500004843;BNF FreeM Racewear 1304501412
           06/05                  85.50   24692164T00HFS5DW 7674 IL FORNAIO NPB3091 NEWPORT BEACH CA 1207753855
           06/05                   2.25   24692164T00R7L9FA 7674 STARBUCKS STORE 05563 NEWPORT BEACH C 1207753854
           06/05                  20.00   24493984TP8G1AHEP 7674 ONSTAR DATA PLAN - AT&WWW.ATT.COM TX 1207753853
           06/05                  96.95   24692164S00A4L4E2 7674 IL FORNAIO NPB3091 NEWPORT BEACH CA 1207753857
           06/05                 533.00   24445004SEJ6FTK97 7674 PUBLIC STORAGE 08504 800-567-0759 CA 1207753856
           06/05                  20.00   24269794W00NZYAQH 7674 GELATO PARADISO - FIA NEWPORT BEACH C 1207718953
           06/06                  14.00   WIRE FEE-INCOMING DOMESTIC
           06/06             100,000.00   WIRE/OUT-2017060600004721;BNF The Escrow Connection;REF Escr 1304301348
           06/06              20,850.00   WIRE/OUT-2017060600004720;BNF Parkway Escrow;OBI Escrow No. 1304301346
           06/06                  50.00   24118594W06Z2F18X 7674 META-BILLING.COM 877-387-9077 CA 1207316708
           06/06                   2.25   24692164W00KB4ELS 7674 STARBUCKS STORE 05563 NEWPORT BEACH C 1207316707
           06/06               5,000.00   ONLINE XFER TO DDA PASSPORT 420 ID: 000008892 2307804757
           06/07              50,000.00   WIRE/OUT-2017060700004066;BNF Green & Norwood PLLC 1304401048
           06/07                  91.77   24164074XMJ8QDYXG 7674 FEDEX 235465788 800-4633339 TN 1207417323
           06/07                  92.00   24015174X00SRKWXV 7674 76 - SUPERIOR 76 CAR WNEWPORT BEACH C 1207417322
           06/07                  50.35   24164074XMJ89PWMY 7674 FEDEX 235769271 800-4633339 TN 1207417324
           06/07                   4.99   24692164X00DM16PP 7674 APL* ITUNES.COM/BILL 866-712-7753 CA 1207417320
           06/07                  62.00   24224434Y31TQQA4A 7674 PANINI KABOB GRILL CORONA DEL MA CA 1207417321
           06/07                 270.34   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405610979
           06/08                  97.21   24692164Y00PK7GGN 7674 LEDLOW /PYT LOS ANGELES CA 1207017536
           06/08                 370.00   24323004Y5S8PB7EE 7674 UNISEARCH INC 800-722-0708 WA 1207017535
           06/08                  36.00   INSUFFICIENT FUNDS FEE-ITEM PD 1703801265
           06/09                 128.00   24251384Z0VZEBKJH 7674 WATKINS SPINE INC MARINA DEL RE CA 1208017469
           06/09                  35.00   24692164Z00QYF51Q 7674 TCA FASTRAK R 949-727-4800 CA 1208017466
           06/09                  15.00   24431064Z020BDABX 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1208017471
           06/09                    .99   24692164Z00H26LWP 7674 APL* ITUNES.COM/BILL 866-712-7753 CA 1208017470
           06/09                 479.50   24767255000013NS5 7674 CAREY 888-6493949 DC 1208017467
           06/09                  23.17   24164074ZMJ8FW1J3 7674 FEDEX 235963918 800-4633339 TN 1208017468
           06/12                  27.49   246921650003SHXD3 7674 L2G*DJA-COURT E-COMMRC206-477-3000 WA 1207450990
           06/12                  14.99   246921650003SHXDW 7674 L2G*DJA-COURT E-COMMRC206-477-3000 WA 1207450991
           06/12                   7.50   244310650020QDXBB 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1207450992
           06/12                   6.03   2469216522XQWXA8H 7674 ACCESSLINE *PHONE SVC877-880-0055 WA 1207417421
           06/13                  96.57   2424760538PVKJRGP 7674 LIDO SHIPYARD SAUSAGE NEWPORT BEACH C 1206916263
           06/13                   7.75   0674 P.O.S. PURCHASE WHOLEFDS N WHOLEFDS NP NEWPORT BE CA 1405010291
           06/14                  35.00   2469216542XKSVTX2 7674 TCA FASTRAK R 949-727-4800 CA 1206916929
           06/14                   8.00   2469216542XRFSN7T 7674 STARBUCKS STORE 05563 NEWPORT BEACH C 1206916931
           06/14                  49.99   244834754QZK56AAX 7674 Motor Trend OnDemand 310-5315012 CA 1206916932
           06/14                   9.99   2469216542XPGN5ZA 7674 APL* ITUNES.COM/BILL 866-712-7753 CA 1206916928
           06/14                 149.99   2443099552M70440T 7674 MICROSOFT *STORE 800-642-7676 WA 1206916930
           06/15                   7.50   244310655020HE0TE 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1207316620
           06/16                  14.00   WIRE FEE-INCOMING DOMESTIC
           06/16                  52.06   241640756MJ8G7WZ8 7674 FEDEX 236649834 800-4633339 TN 1207417916
           06/16                 498.00   24493985761Q946DG 7674 COALITION OF COURT REP888-279-0395 CA 1207417917
           06/16                  36.00   INSUFFICIENT FUNDS FEE-ITEM PD 1703701241
           06/19              50,000.00   WIRE/OUT-2017061900003670;BNF Green & Norwood PLLC 1304200946
           06/19               4,027.50   2475542583HAER79D 7674 ADR SERVICES INC 310-2010010 CA 1207850936
           06/19                 107.05   241640758MJ8BGV5Q 7674 FEDEX 236820952 800-4633339 TN 1207850935
           06/19                  21.39   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405633658
           06/19                   9.80   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405633657
           06/19                  31.34   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405633660
           06/19                  27.43   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405633659
           06/20               2,411.97   24431065AX1FJ9JKT 7674 MAGNOLIA HI FI 305 COSTA MESA CA 1207015963
           06/20                  54.52   24164075AMJ85FM65 7674 FEDEX 237052152 800-4633339 TN 1207015962
           06/20                  21.76   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1404910497
           06/20              13,000.00   Ten Thousand Ren Rent REF # 017170005570215 1106813703
           06/21                  15.00   24431065B020NGDNP 7674 ORANGE CO SUPERIOR CRT800-708-9832 CA 1206917063
           06/21                 176.93   24342855B0FVMT24F 7674 Cecconis West HollywooW HOLLYWOOD CA 1206917060
           06/21                  42.01   24164075BMJ89FTLK 7674 FEDEX 237156376 800-4633339 TN 1206917062
           06/21                  66.04   24692165Q2XG9R5BT 7674 CHEVRON 0201093 NEWPORT BEACH CA 1206917061
           06/21                  38.54   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405211158
           06/21                  19.87   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405211157
           06/22                 110.29   24164075QMJ839XS2 7674 FEDEX 237260828 800-4633339 TN 1207217352
           06/23                  14.00   WIRE FEE-INCOMING DOMESTIC
           06/23              72,000.00   WIRE/OUT-2017062300006164;BNF Michael & Lisa Avenatti;REF Av 1304101610
           06/23                 403.86   24755425D4ZY1F4QH 7674 WALDORF AST JEAN GEO RBEVERLY HILLS C 1207417398
           06/23                  86.00   24492155E0S04KS36 7674 COURTCALL *#8387471310-342-0888 CA 1207417399
           06/26                 240.00   24269795E2XENDND2 7674 THE HYDRATION ROOM WESNEWPORT BEACH C 1207850347
           06/26                  33.55   0674 P.O.S. PURCHASE UberUS_A 1455 Market San Franci CA 1405732716
           06/26                  36.00   INSUFFICIENT FUNDS FEE-ITEM PD 1703800979
           06/27                 405.00   24692165H2Y1JMYMW 7674 IN *BLUE CHIP RACING R434-8227700 VA 1207415979
           06/27                 116.00   24492155J0S0S80SK 7674 COURTCALL *#8437202310-342-0888 CA 1207415980



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                                                                                                                               AVENATTI & ASSOC A PROFESSIONAL CORP
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                                                                                                                               California Bank & Trust


      Continued ...
      Date                        Amount                Description
      06/27                         36.00                INSUFFICIENT FUNDS FEE-ITEM PD 1703501755
      06/27                          6.00                OVERDRAFT SERVICE FEE
      06/28                        107.90                24692165J2XQVEDEG 7674 AMAZON MKTPLACE PMTS AMZN.COM/BILL WA 1207216857
      06/28                      1,270.03                24798655J3K6KDRQG 7674 DRAGO CENTRO LOS ANGELES CA 1207216858
      06/28                         70.84                24164075JMJ895RH9 7674 FEDEX 237839194 800-4633339 TN 1207216859
      06/28                        192.26                24231685K8ABEVB75 7674 MAYO CLINIC FLA E JACKSONVILLE FL 1207216860
      06/28                         36.00                INSUFFICIENT FUNDS FEE-ITEM PD 1703601325
      06/29                         61.00                24512395KS66MD90K 7674 CITY OF NB-CITEPERMIT 949-6443241 CA 1206717036
      06/29                         36.00                24164075KMJ84PGW0 7674 FEDEX 237943792 800-4633339 TN 1206717038
      06/29                         11.24                24224435L2Y2DKY07 7674 MS.GOV-SUP CRT PAM 601-206-0082 MS 1206717037
      06/30                     22,018.48                WIRE/OUT-2017063000008513;BNF Green & Norwood PLLC 1304102216
      06/30                         34.89                24431065L2DJJ5RAS 7674 AMAZON.COM AMZN.COM/BIAMZN.COM/BILL W 1207317226
      06/30                         23.17                24164075LMJ8GPYBZ 7674 FEDEX 238040050 800-4633339 TN 1207317228
      06/30                        116.00                24492155M0S1EVM55 7674 COURTCALL *#8445929310-342-0888 CA 1207317227

      ...........................................................................................................................................................................................
      5 CHECKS PROCESSED
      Number..............Date............................Amount       Number..............Date............................Amount      Number..............Date............................Amount
      1648             06/26                         3,759.31         1708*                06/07                         1,590.00      1710                06/23                    10,911.88
      1649             06/27                         3,639.52         1709                 06/20                         4,000.00
      * Not in check sequence
      ..........................................................................................................................................................................................

      AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                         Total for This Period                       Total Year-to-Date
      Total Overdraft Fees                                            $186.00                                  $942.00
      Total Returned Item Fees                                           $0.00                                    $0.00

      To learn more about our other products and services that may lower the cost of managing account
      overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
      Service or visit your local branch.

      ..........................................................................................................................................................................................
      DAILY BALANCES
      Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
      06/01                   14,153.46                                          06/13                       586.67                                         06/22                   25,544.70
      06/02                     2,134.25                                         06/14                       333.70                                         06/23                    -7,871.04
      06/05                     3,009.57                                         06/15                       326.20                                         06/26                    -1,939.90
      06/06                   37,093.32                                          06/16                   99,726.14                                          06/27                    -1,142.42
      06/07                        -68.13                                        06/19                   45,501.63                                          06/28                     1,180.55
      06/08                     1,428.66                                         06/20                   26,013.38                                          06/29                     1,072.31
      06/09                       747.00                                         06/21                   25,654.99                                          06/30                   13,879.77
      06/12                       690.99




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                                     Exhibit 41
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                                          ACCO,(JCGx),AO120,CLOSED,DISCOVERY,MANADR

                   UNITED STATES DISTRICT COURT
      CENTRAL DISTRICT OF CALIFORNIA (Southern Division - Santa Ana)
            CIVIL DOCKET FOR CASE #: 8:15-cv-00779-JVS-JCG


Greg Barela v. Brock USA, LLC et al                         Date Filed: 05/19/2015
Assigned to: Judge James V. Selna                           Date Terminated: 08/11/2015
Referred to: Magistrate Judge Jay C. Gandhi                 Jury Demand: Plaintiff
Cause: 35:271 Patent Infringement                           Nature of Suit: 830 Patent
                                                            Jurisdiction: Federal Question
Plaintiff
Greg Barela                                   represented by Jason M Frank
an individual                                                Eagan Avenatti LLP
                                                             520 Newport Center Drive Suite 1400
                                                             Newport Beach, CA 92660-7617
                                                             949-706-7000
                                                             Fax: 949-706-7050
                                                             Email: jfrank@lawfss.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Scott Howard Sims
                                                            Eagan Avenatti LLP
                                                            520 Newport Center Drive Suite 1400
                                                            Newport Beach, CA 92660
                                                            949-706-7000
                                                            Fax: 949-706-7050
                                                            Email: ssims@eaganavenatti.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Michael J Avenatti
                                                            Eagan Avenatti LLP
                                                            520 Newport Center Drive Suite 1400
                                                            Newport Beach, CA 92660
                                                            949-706-7000
                                                            Fax: 949-706-7050
                                                            Email: mavenatti@eaganavenatti.com
                                                            ATTORNEY TO BE NOTICED


V.
Defendant
Brock USA, LLC                                represented by David J Sheikh




https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?200864367085075-L_1_0-1                      2/12/2019
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a Colorado limited liability company                       Lee Sheikh Megley & Haan LLC
doing business as                                          1 North Franklin Street, Suite 3340
Brock International LLC                                    Chicago, IL 60606
                                                           312-982-0070
                                                           Fax: 312-982-0071
                                                           Email: dsheikh@leesheikh.com
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Joseph A Culig
                                                           Lee Sheikh Megley and Haan LLC
                                                           1 North Franklin Street Suite 3340
                                                           Chicago, IL 60606
                                                           312-982-0070
                                                           Fax: 312-982-0071
                                                           Email: jculig@leesheikh.com
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Martin L Fineman
                                                           Davis Wright Tremaine LLP
                                                           505 Mongomery Street Suite 800
                                                           San Francisco, CA 94111-6533
                                                           415-276-6500
                                                           Fax: 415-276-6599
                                                           Email: martinfineman@dwt.com
                                                           ATTORNEY TO BE NOTICED

                                                           Nicolas A Jampol
                                                           Davis Wright Tremaine LLP
                                                           865 South Figueroa Street Suite 2400
                                                           Los Angeles, CA 90017
                                                           213-633-6800
                                                           Fax: 213-633-6899
                                                           Email: nicolasjampol@dwt.com
                                                           ATTORNEY TO BE NOTICED
Defendant
Does
1 to 50,


 Date Filed      #   Docket Text
 05/19/2015       1 COMPLAINT Receipt No: 0973-15750401 - Fee: $400, filed by Plaintiff Greg
                    Barela. (Attorney Michael J Avenatti added to party Greg Barela(pty:pla))
                    (Avenatti, Michael) (Entered: 05/19/2015)
 05/19/2015       2 CIVIL COVER SHEET filed by Plaintiff Greg Barela. (Avenatti, Michael)




https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?200864367085075-L_1_0-1                   2/12/2019
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                     (Entered: 05/19/2015)
 05/19/2015       3 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case
                    Opening) 1 filed by Plaintiff Greg Barela. (Avenatti, Michael) (Entered:
                    05/19/2015)
 05/19/2015       4 CERTIFICATE of Interested Parties filed by Plaintiff Greg Barela, (Avenatti,
                    Michael) (Entered: 05/19/2015)
 05/19/2015       5 REPORT ON THE FILING OF AN ACTION Regarding a Patent or a
                    Trademark (Initial Notification) filed by Greg Barela. (Avenatti, Michael)
                    (Entered: 05/19/2015)
 05/20/2015       6 NOTICE OF ASSIGNMENT to District Judge James V. Selna and Magistrate
                    Judge Jay C. Gandhi. (twdb) (Entered: 05/20/2015)
 05/20/2015       7 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed.
                    (twdb) (Entered: 05/20/2015)
 05/20/2015       8 21 DAY Summons Issued re Complaint (Attorney Civil Case Opening) 1 as to
                    defendants Brock USA, LLC. (twdb) (Entered: 05/20/2015)
 06/05/2015       9 INITIAL ORDER FOLLOWING FILING OF COMPLAINT ASSIGNED TO
                    JUDGE SELNA. (jlen) (Entered: 06/05/2015)
 06/05/2015     10 ORDER SETTING RULE 26(f) SCHEDULING CONFERENCE by Judge
                   James V. Selna. Rule 26 Meeting Report due by 9/21/2015. Scheduling
                   Conference set for 9/28/2015 at 10:30 AM before Judge James V. Selna. (jlen)
                   (Entered: 06/05/2015)
 06/10/2015     11 STIPULATION Extending Time to Answer the complaint as to Brock USA,
                   LLC answer now due 7/1/2015, re Complaint (Attorney Civil Case Opening) 1
                   filed by Defendant Brock USA, LLC.(Attorney Nicolas A Jampol added to
                   party Brock USA, LLC(pty:dft))(Jampol, Nicolas) (Entered: 06/10/2015)
 06/10/2015     12 PROOF OF SERVICE Executed by Plaintiff Greg Barela, upon Defendant
                   Brock USA, LLC served on 5/27/2015, answer due 7/1/2015. Service of the
                   Summons and Complaint were executed upon Kristin Kopera, Manager in
                   compliance with statute not specified by substituted service at business address
                   and by also mailing a copy. Original Summons returned. (Avenatti, Michael)
                   (Entered: 06/10/2015)
 06/24/2015     13 APPLICATION for attorney David J. Sheikh to Appear Pro Hac Vice (PHV
                   Fee of $325 receipt number 0973-15968496 paid.) filed by Defendant Brock
                   USA, LLC. (Attachments: # 1 Proposed Order) (Jampol, Nicolas) (Entered:
                   06/24/2015)
 06/24/2015     14 APPLICATION for attorney Joseph A. Culig to Appear Pro Hac Vice (PHV
                   Fee of $325 receipt number 0973-15968611 paid.) filed by Defendant Brock
                   USA, LLC. (Attachments: # 1 Proposed Order) (Jampol, Nicolas) (Entered:
                   06/24/2015)
 06/24/2015     15 STIPULATION to AMEND Complaint (Attorney Civil Case Opening) 1 ,




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                     STIPULATION Extending Time to Answer the complaint as to Brock USA,
                     LLC answer now due 7/15/2015, re Complaint (Attorney Civil Case Opening) 1
                     filed by Defendant Brock USA, LLC.(Jampol, Nicolas) (Entered: 06/24/2015)
 06/30/2015     16 FIRST AMENDED COMPLAINT against Defendants Brock USA, LLC
                   amending Complaint (Attorney Civil Case Opening) 1 , filed by Plaintiff Greg
                   Barela (Avenatti, Michael) (Entered: 06/30/2015)
 07/08/2015     17 NOTICE OF MOTION AND MOTION to Compel Arbitration filed by
                   Defendant Brock USA, LLC. Motion set for hearing on 8/10/2015 at 01:30 PM
                   before Judge James V. Selna. (Attachments: # 1 Proposed Order) (Jampol,
                   Nicolas) (Entered: 07/08/2015)
 07/08/2015     18 DECLARATION of Joseph A. Culig in support of NOTICE OF MOTION
                   AND MOTION to Compel Arbitration 17 or, in the Alternative, to Dismiss
                   Barela's First Amended Complaint filed by Defendant Brock USA, LLC.
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                   Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit
                   10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                   Exhibit 15, # 16 Exhibit 16)(Jampol, Nicolas) (Entered: 07/08/2015)
 07/16/2015     19 ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO
                   APPEAR IN A SPECIFIC CASE PRO HAC VICE by Judge James V. Selna:
                   granting 14 APPLICATION to Appear Pro Hac Vice by Attorney Joseph A.
                   Culig on behalf of Defendant, designating Nicholas A. Jampol as local counsel.
                   (lt) (Entered: 07/17/2015)
 07/16/2015     20 ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO
                   APPEAR IN A SPECIFIC CASE PRO HAC VICE by Judge James V. Selna:
                   granting 13 APPLICATION to Appear Pro Hac Vice by Attorney David J.
                   Sheikh on behalf of Defendant, designating Nicholas A. Jampol as local
                   counsel. (lt) (Entered: 07/17/2015)
 07/20/2015     21 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to
                   Compel Arbitration 17 filed by Plaintiff Greg Barela. (Attachments: # 1
                   Affidavit of Greg Barela)(Avenatti, Michael) (Entered: 07/20/2015)
 07/27/2015     22 REPLY in support of NOTICE OF MOTION AND MOTION to Compel
                   Arbitration 17 or in the Alternative, to Dismiss First Amended Complaint filed
                   by Defendant Brock USA, LLC. (Attachments: # 1 Declaration of Joseph A.
                   Culig, # 2 Exhibit 17)(Jampol, Nicolas) (Entered: 07/27/2015)
 08/07/2015     23 NOTICE of Appearance filed by attorney Martin L Fineman on behalf of
                   Defendant Brock USA, LLC (Attorney Martin L Fineman added to party Brock
                   USA, LLC(pty:dft))(Fineman, Martin) (Entered: 08/07/2015)
 08/10/2015     24 (IN CHAMBERS) Order Granting Defendants Motion to Compel Arbitration
                   and Denying Defendants Motion to Dismiss 17 by Judge James V. Selna: The
                   Court, having been informed by the parties that they are submitting on the
                   tentative ruling, previously issued, hereby GRANTS the defendants Motion to
                   Compel Arbitration and DENIES defendants motion to dismiss. (see document




https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?200864367085075-L_1_0-1                      2/12/2019
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                     for details) (mu) (Entered: 08/11/2015)
 08/11/2015     25 ORDER GRANTING BROCKS MOTION TO COMPEL ARBITRATION by
                   Judge James V. Selna: Accordingly, Brocks Motion to Compel Arbitration 17 is
                   GRANTED. CountsI, II, III, and IV of Barelas First Amended Complaint are
                   DISMISSED WITHPREJUDICE and the parties are ordered to submit Barelas
                   claims to bindingarbitration, as set forth in the June 1, 2009 Mutual
                   Confidentiality and Non-UseAgreement. (Made JS-6. Case Terminated.) (mu)
                   (Entered: 08/12/2015)




https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?200864367085075-L_1_0-1                2/12/2019
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                                     Exhibit 42
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